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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


      UNITED STATES, et al.,

                                    Plaintiffs,

             vs.                                          No. 1:23-cv-00108-LMB-JFA

      GOOGLE LLC,

                                    Defendant.



                             GOOGLE LLC’S NOTICE OF FILING

            Defendant Google LLC (“Google”) files the attached REVISED REDACTED

     VERSION of its brief in support of Google’s motion to exclude the expert opinions of Dr.

     Simcoe, as ordered by the Court (Docket no. 902).
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     Dated: July 17, 2024.                Respectfully submitted,

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